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    In the United States Court of Federal Claims
                                                   No. 21-1393
                                           (Filed: September 22, 2021)
                                          (NOT FOR PUBLICATION)

* * * * * * * * * * * * * * * * ** *
                                    *
CHAD ARNOLD,                        *
                                    *
                   Plaintiff,       *
                                    *
       v.                           *
                                    *
THE UNITED STATES,                  *
                                    *
                   Defendant.       *
                                    *
 * * * * * * * * * * * * * * * * ** *

Chad Arnold, pro se, of Vista, CA.

Russell J. Upton, Trial Attorney, Civil Division, U.S. Department of Justice, of Washington,
D.C., for defendant.

                               MEMORANDUM OPINION AND ORDER
SOMERS, Judge.

        Pro se Plaintiff, Chad Arnold, 1 filed suit in this Court requesting that the Court review
actions and decisions of a California trial court and the San Diego Health and Human Services
Agency. ECF No. 1 at 9 (“Compl.”). The government subsequently filed a motion to dismiss
for lack of subject matter jurisdiction. ECF No. 7 (“Def.’s Mot. to Dismiss”). Plaintiff’s
response to the government’s motion included a motion to amend the complaint to add a takings
claim based on the same facts as the original complaint. ECF No. 8 at 3 (“Pl.’s Resp.”). For the
reasons that follow, Plaintiff’s motion to amend is denied and the complaint is dismissed for lack
of subject matter jurisdiction.



1
  The Court is mindful of Chad Arnold’s objection to the use of titles of personhood to describe him. See Pl.’s Resp.
at 2. The Court has refrained from using such titles when possible. The Court is also aware of Plaintiff’s objection
to the characterization of this action as being brought pro se, as Plaintiff asserts that Chad Arnold is a registered
business entity and there is a “prejudicial nature of this status.” Pl.’s Resp. at 1 n.1. The Court can assure Plaintiff
that pro se status is not prejudicial. On the contrary, pro se litigants are held to less exacting standards than lawyers.
See Haines v. Kerner, 406 U.S. 519, 520 (1972). Moreover, if the Court were not to provide this lenity, it would be
forced to dismiss Plaintiff’s complaint without discussion because a non-lawyer cannot represent “an entity . . .
before this Court.” RCFC 83.1(a)(3).
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                                         BACKGROUND

        Plaintiff’s son was diagnosed with leukemia, and the child’s oncologists recommended
chemotherapy as treatment. See Compl. at 8. However, Plaintiff and his wife instead wanted to
use “natural healing methods.” Id. at 9. Because of this, the San Diego County Health and
Human Services Agency brought charges of child neglect against Plaintiff and his wife in the
Superior Court of the State of California for the County of San Diego. Id. at 8. The Superior
Court determined that the child’s home environment was an endangerment to him. Id. at Ex. 5.
Therefore, the court ordered that the child be removed from his parents’ physical custody and
that the hospital administer appropriate treatment. Id. at Ex. 5, 6.

        Plaintiff alleges that he is not bound by the California court’s decisions, including its
decisions regarding the administration of chemotherapy and its determination of custody and
spousal support. Id. at 1. Prior to commencing this action, Plaintiff sent a letter to the United
States Department of Health and Human Services, regarding his grievances with the California
court decisions, requesting that “all services to my person and my son’s person be canceled
immediately,” and articulating his intent to file a claim if he did not receive a response. Id. at
Ex. 19. The government now moves to dismiss Plaintiff’s claim for lack of jurisdiction under
Rule 12(b)(1) of the Rules of the Court of Federal Claims (“RCFC”). In response, Plaintiff
requests the Court’s leave to amend the complaint to add a takings claim. Pl.’s Resp. at 3.

                                          DISCUSSION

   A. Legal Standard

        In reviewing a motion brought pursuant to RCFC 12(b)(1), “a court must accept as true
all undisputed facts asserted in the plaintiff’s complaint and draw all reasonable inferences in
favor of the plaintiff.” Trusted Integration, Inc. v. United States, 659 F.3d 1159, 1163 (Fed. Cir.
2011). If the court determines that it lacks jurisdiction based on these facts, it must dismiss the
action. RCFC 12(b)(1), (h)(3). Under the Tucker Act, the Court may “render judgment upon
any claim against the United States founded either upon the Constitution, or any Act of Congress
or any regulation of an executive department, or upon any express or implied contract with the
United States, or for liquidated or unliquidated damages in cases not sounding in tort.” 28
U.S.C. § 1491(a)(1). However, “[t]he Tucker Act does not, of itself, create a substantive right
enforceable against the United States . . . .” Smith v. United States, 709 F.3d 1114, 1116 (Fed.
Cir. 2013). Rather, to state a claim within this Court’s jurisdiction, “the plaintiff must identify a
separate contract, regulation, statute, or constitutional provision that provides for money
damages against the United States.” Id.

        Although a pro se plaintiff is held to “less stringent standards than formal pleadings by
lawyers,” Haines v. Kerner, 406 U.S. 519, 520 (1972), “the leniency afforded to a pro se litigant
with respect to mere formalities does not relieve the burden to meet jurisdictional requirements,”
Minehan v. United States, 75 Fed. Cl. 249, 253 (2007). Accordingly, a pro se plaintiff still
“bears the burden of establishing the Court’s jurisdiction by a preponderance of the evidence.”
Riles v. United States, 93 Fed. Cl. 163, 165 (2010) (citing Taylor v. United States, 303 F.3d
1357, 1359 (Fed. Cir. 2002)).

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   B. Analysis

        Even under the most liberal construction of Plaintiff’s complaint, it is clear that the Court
lacks jurisdiction over his claims. First, Plaintiff’s complaint principally seeks to overturn
decisions of a state trial court. See Compl. at 1. It is well established that this Court does not
have jurisdiction to review state court decisions, including those decided unfavorably against a
plaintiff. See, e.g., D.C. Ct. of Appeals v. Feldman, 460 U.S. 462, 482 (1983) (“[Lower federal
courts] do not have jurisdiction . . . over challenges to state court decisions in particular cases
arising out of judicial proceedings even if those challenges allege that the state court’s action was
unconstitutional.”).

        In addition, the Court is without jurisdiction to decide claims on any of the other grounds
Plaintiff has alleged. For example, Plaintiff alleges that he is entitled to relief in this Court under
the International Covenant on Civil and Political Rights. See Compl. at 11, 15. However, unless
and until Congress provides otherwise, “the United States Court of Federal Claims shall not have
jurisdiction of any claim against the United States growing out of or dependent upon any treaty
entered into with foreign nations.” 28 U.S.C. § 1502.

        Plaintiff also attempts to invoke this Court’s jurisdiction pursuant to Title IV of the Social
Security Act. See Compl. at 11. The Federal Circuit has repeatedly held that this Court lacks
jurisdiction over claims pertaining to the Social Security Act or Social Security benefits. See,
e.g., Marcus v. United States, 909 F.2d 1470, 1471 (Fed. Cir. 1990) (holding “that the Claims
Court has no jurisdiction under the Tucker Act . . . over claims to social security benefits . . . .”);
Bush v. United States, 627 F. App’x 928, 929 (Fed. Cir. 2016) (“We have held that the CFC does
not have jurisdiction to hear claims for: Social Security benefits . . . .”). Plaintiff also cites
Article VI of the Constitution as a basis for his claims. See Compl. at 11. The Court lacks
jurisdiction over these claims as well. Hanford v. United States, 63 Fed. Cl. 111 (Fed. Cl. 2004)
(dismissing claims under Article VI of the Constitution and the Supremacy Clause for lack of
jurisdiction), aff’d, 154 F. App’x 216 (Fed. Cir. 2005).

        Finally, Plaintiff alleges that he is a party to implied contracts with the federal
government. See Compl. at 14, 18, 22. The Supreme Court has held that this Court’s
jurisdiction “extends only to contracts either express or implied in fact, and not to claims on
contracts implied in law.” Hercules Inc. v. United States, 516 U.S. 417, 423 (1996) (citing
Sutton v. United States, 256 U.S. 575, 581 (1921)). An implied-in-fact contract requires a
showing of: 1) “mutuality of intent to contract,” 2) “consideration,” 3) “lack of ambiguity in
offer and acceptance,” and 4) that “the Government representative ‘whose conduct is relied upon
[had] actual authority to bind the government in contract.’” City of El Centro v. United States,
922 F.2d 816, 820 (Fed. Cir. 1990) (quoting Juda v. United States, 6 Cl. Ct. 441, 452 (1984)).
The government is correct in noting that Plaintiff vehemently denies an essential element of the
alleged implied contracts: mutuality of intent to contract. See Hercules Inc., 516 U.S. at 424;
Compl. at 14; Def.’s Mot. to Dismiss at 6. Thus, any implied contract would, at best, have to be
implied-in-law and, therefore, outside the scope of the Court’s jurisdiction.




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        Regarding Plaintiff’s motion to amend the complaint, Pl.’s Resp. at 3, the Court finds it
unnecessary to allow such an amendment. 2 Plaintiff’s alleged takings claims, like most of his
other claims, are against the state of California and not the federal government. See Compl. at
Ex. 19. This Court does not have jurisdiction over claims against state governments. 28 U.S.C.
§ 1491 (granting the Court of Federal Claims “jurisdiction to render judgment upon any claim
against the United States . . . .”). As a result, allowing Plaintiff to file an amended complaint
would be futile, as the alleged takings claim would not survive a motion to dismiss. Meyer Grp.,
Ltd. v. United States, 115 Fed. Cl. 645, 650 (2014) (explaining that a motion to amend is futile
when it would not survive a motion to dismiss). Therefore, the Court denies Plaintiff’s motion to
amend.

       In sum, the Court is without jurisdiction over Plaintiff’s claims and, therefore, must
dismiss the complaint.

                                              CONCLUSION

        For the forgoing reasons, Plaintiff’s motion to amend the complaint is DENIED, the
government’s motion to dismiss is GRANTED, and the complaint is DISMISSED. The Clerk
shall enter judgment accordingly.

IT IS SO ORDERED.

                                                   s/ Zachary N. Somers
                                                   ZACHARY N. SOMERS
                                                   Judge




2
  Because Plaintiff missed the window to amend the complaint unilaterally, RCFC 15(a)(1), he must seek the
government’s consent or the Court’s leave to amend. RCFC(a)(2). The government did not consent to Plaintiff’s
request. See ECF No. 10.

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